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                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT


  BBAM AIRCRAFT MANAGEMENT LP, and
  BBAM US LP,

     Plaintiffs and Counterclaim-Defendants,       Civil Action No.
                                                   3:20-cv-01056-VLB
                   vs.

  BABCOCK & BROWN LLC, BURNHAM
  STERLING & COMPANY LLC, BABCOCK
  & BROWN SECURITIES LLC, BABCOCK &
  BROWN INVESTMENT MANAGEMENT
  LLC,

     Defendants and Counterclaim-Plaintiffs.


  MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR LEAVE FROM
 CASE SUSPENSION AND UNDER RULE 30(a)(2)(A)TO CONDUCT ADDITIONAL
       DISCOVERY RELATED TO THEIR AMENDED COUNTERCLAIMS

      Defendants and Counterclaim-Plaintiffs Babcock & Brown LLC, Burnham

Sterling & Company LLC, Babcock & Brown Securities LLC, and Babcock & Brown

Investment Management LLC (collectively, “Defendants”) respectfully request that

the Court grant their Motion for Leave From Case Suspension and Under Rule

30(a)(2)(A)   to    Conduct   Additional   Discovery   Related   to   their   Amended

Counterclaims (the “Motion”), filed concurrently with this memorandum.

Specifically, Defendants wish to pursue limited additional discovery related to their

counterclaim under California Unfair Competition Law (the “Unfair Competition

Counterclaim”), the basis for which Defendants recently learned in discovery prior

to the Court’s suspension of all case deadlines on or about October 27, 2021. They

request leave from the Court to (a) serve written discovery requests starting
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immediately, within existing limits under the Rules, (b) take an additional

deposition under Rule 30(b)(1), not to exceed four (4) hours, of one of Plaintiffs’

employees involved in pricing the transactions at-issue in Defendants’ Unfair

Competition Counterclaim, and (c) take a second Rule 30(b)(6) deposition of

Plaintiffs, not to exceed seven (7) total hours, limited to topics relating to

Defendants’ Unfair Competition counterclaim and/or documents that Plaintiffs

have produced since their prior deposition.1 Good cause exists to grant

Defendants’ motion for the reasons set forth below.

I. BACKGROUND

      Plaintiffs and Counterclaim-Defendants BBAM Aircraft Management LP and

BBAM US LP (collectively, “Plaintiffs”) filed the initial Complaint in this case on

July 27, 2020. [Dkt. 1]. After Defendants timely moved to dismiss the initial

Complaint, Plaintiffs filed a First Amended Complaint on September 25, 2020. [Am.

Compl., Dkt. 32]. On October 16, 2020, Defendants timely filed a motion to dismiss

the First Amended Complaint. [Dkt. 39]. The parties thereafter engaged in

discovery, during which Defendants learned of the basis for their Unfair

Competition Counterclaim. Many of the facts underlying Defendants’ claim were

revealed in depositions taken between August 11, 2021, and October 13, 2021.

Declaration of Ian McFarland (“Decl.”) at ¶¶ 3-4.

      The Court denied Defendants’ Motion to dismiss Plaintiffs’ First Amended

Complaint in its Order dated September 29, 2021. [Dkt. 89]. Defendants thereafter



1 Defendants reserve their right to request more discovery, including expert
discovery, if necessary, should additional information come to light through the
discovery requested herein.
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requested a two-week extension of time to answer or otherwise respond to the First

Amended Complaint, but ultimately filed their Answer and Counterclaim without an

extension on October 13, 2021. [Dkt. 91, 95]. Defendants did not plead their Unfair

Competition Counterclaim in their initial Answer and Counterclaim because they

had not yet been able to fully evaluate the factual and legal bases for the claim.

Decl. at ¶ 2. Defendants had also just deposed one of Plaintiffs’ former employees,

Wesley Dick, on October 12, 2021, and learned the identities of Plaintiffs’

employees involved in pricing the transactions at-issue in Defendants’ Unfair

Competition Counterclaim. Id. at ¶ 5, Ex. A (18:3-12).

      On October 27, 2021, and before the discovery period had closed, the Court

suspended the scheduling order then in place and informed the parties that

discovery would resume after the pending discovery motions were fully

adjudicated. [Dkt. 104]. The Court has not yet entered a modified scheduling order,

and the parties’ briefing of their respective discovery motions is currently ongoing.

[See Dkt. 93, 98, 107, 114, 120, and 124].

      On November 2, 2021, Plaintiffs filed a motion to dismiss Defendants’

counterclaims. [Dkt 110]. The next week on November 11, 2021, Defendants filed

their First Amended Answer and Counterclaims (the “FAACC”) pursuant to Fed. R.

Civ. P. 15(a)(1)(B). [Dkt. 117-3]. The FAACC included Defendants’ Unfair

Competition Counterclaim. [Id.] Shortly thereafter, Plaintiffs filed a motion

requesting a two-week extension of time to answer or otherwise respond to the

FAACC, arguing that Defendants’ Unfair Competition Counterclaim necessitated




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further consideration. [Dkt. 122]. The Court granted Plaintiffs’ request the following

day and extended Plaintiffs’ response deadline to December 13, 2021. [Dkt. 123].

II. LEGAL STANDARD

      The Court has recognized that the filing of amended counterclaims can serve

as the basis for a limited reopening of discovery. See, e.g., Macdermid Printing

Solutions v. Cortron Corp., No. 3:08-cv-1649(AVC), 2011 U.S. Dist. LEXIS 171025, at

*9 (D. Conn. June 29, 2011) (“The discovery period is hereby re-opened…for the

limited purpose of completing any discovery, if necessary, with respect to the

amended affirmative defenses and counterclaims.”); Veritas-Scalable Inv. Prods.

Fund, LLC v. FB Foods, Inc., No. 3:04-cv-1199(JBA), 2006 U.S. Dist. LEXIS 73351,

at *2, 4 (D. Conn. Sep. 28, 2006) (adopting R&R that “discovery should reopen for

the limited inquiry into defendant’s fraudulent inducement counterclaim” that

defendant was permitted to add) (internal quotations omitted).

      In addition, under Rule 30, a litigant may conduct more than ten (10)

depositions or depose someone who has already been deposed in the case upon

obtaining a stipulation from the other party or leave from the Court. Fed. R. Civ. P.

30(a)(2)(A)(i)-(ii). If the litigant pursues the latter option, “the court must grant leave

to the extent consistent with Rule 26(b)(1) and (2).” Fed. R. Civ. P. 30(a)(2). Under

Rule 26, the Court should limit discovery where: (1) the requested additional

discovery is “unreasonably cumulative or duplicative” or can be “obtained from

some other source that is more convenient, less burdensome, or less expensive;”

(2) the party seeking discovery has had ample opportunity to obtain the information




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by discovery in the action;” or (3) “the proposed discovery is outside the scope

permitted by Rule 26(b)(1).” Fed. R. Civ. P. 26(b)(2)(C)(i)-(iii).

III. ARGUMENT

      Defendants are seeking two forms of very narrow relief. Defendants first ask

that the Court permit them to serve written discovery requests on Plaintiffs

targeting information relevant to their Unfair Competition Counterclaim. In

particular, Defendants request leave from the suspension of this case to

immediately serve within the existing limits under Rules 33, 34, and 36 further

interrogatories,2 document requests, and admission requests while the parties’

pending discovery motions are adjudicated. Defendants also ask for leave under

Rule 30(a)(2)(A) to take one additional Rule 30(b)(1) deposition and one additional

Rule 30(b)(6) deposition. Specifically, Defendants learned of the identities of

Plaintiffs’ employees involved in pricing the transactions at-issue in their Unfair

Competition Counterclaim during a recent deposition on October 12, 2021, and

request permission to depose one of them for a half-day. And Defendants seek

permission to take a second Rule 30(b)(6) deposition of Plaintiffs limited to topics

about their Unfair Competition Counterclaim and any documents produced since

their prior Rule 30(b)(6) deposition.

      Good cause exists to grant this Motion because Defendants only recently

discovered the facts that form the basis for the Unfair Competition Counterclaim

asserted in the FAACC. The additional limited discovery being sought is now within




2 Defendants are not requesting leave to serve interrogatories that would exceed
the limit under Rule 33(a)(1).
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the scope of Rule 26(b)(1), is not “unreasonably cumulative or duplicative” or

available from another more convenient source, and Defendants did not have the

opportunity to obtain the information earlier. See Fed. R. Civ. P. 26(b)(2)(C). Further,

the proposed discovery does not relate to the outstanding discovery motions that

resulted in the stay.

      Defendants only learned of the bases for their Unfair Competition

Counterclaim during discovery, primarily through the deposition testimony of

Plaintiffs’ witnesses and a third-party witness, none of whom were made available

for deposition in the case before August 11, 2021. See Decl. at ¶ 3. Many of the

underlying facts alleged in Defendants’ Unfair Competition Counterclaim were

revealed in the ten (10) depositions Defendants conducted between August 11 and

October 14, 2021, including the depositions taken on October 12 and 13, 2021,

shortly before the Court suspended all case deadlines. Decl. at ¶¶ 3-4. Defendants

also only learned the identities of Plaintiffs’ employees that price the transactions

targeted by their Unfair Competition Counterclaim during a deposition on October

12, 2021. Id. at ¶ 5, Ex. A (18:3-12). Plaintiffs’ pricing of those transactions is central

to Defendants’ claim. [See Dkt. 117-3 at ¶¶ 19-20, 122-24, 159]; see also Decl. at ¶

5, Ex. A (59:8-17).

      Defendants have not yet served written discovery requests predicated on

their Unfair Competition Counterclaim and wish to pursue additional discovery in

support of the claim, including discovery related to the allegations in Paragraphs

19-20, 22, 100, 102-03, 105, and 122-24 of the FAACC. Defendants also request

additional   depositions    for   the   limited   purposes    of   addressing     specific



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informational gaps related to the Unfair Competition Counterclaim and discussing

certain documents Plaintiffs have produced since August 26, 2021, the date of

Defendants’ only other Rule 30(b)(6) deposition of Plaintiffs. As of this filing,

Plaintiffs have produced 367 documents since August 26, 2021, Decl. at ¶ 6, and

Defendants anticipate that Plaintiffs will produce additional documents responsive

to their forthcoming written requests. Consequently, the further discovery

Defendants request leave to take is not duplicative of prior discovery.

      Second, Defendants have not had an opportunity to obtain discovery from

Plaintiffs specific to their Unfair Competition Counterclaim because it was not

pleaded in this case – and therefore not definitively within the scope of Rule

26(b)(1) – until the FAACC was filed on November 11, 2021. While Defendants have

already pleaded many of the facts in connection with their Unfair Competition

Counterclaim, they wish to pursue further discovery into certain targeted areas

now that the scope of discovery expressly extends to all matters relevant to this

claim. Further, Defendants only learned of the identities of Plaintiffs’ employees

involved in pricing the transactions at-issue in Defendants’ Unfair Competition

Counterclaim on October 12, 2021, and have not had an opportunity to pursue any

discovery in view of that information.

      Third, the requested additional discovery covers topics relating to

Defendants’ pending Unfair Competition Counterclaim, and is therefore within the

scope of discovery permitted by Rule 26. Specifically, parties may obtain under

Rule 26(b)(1) discovery that is “relevant to any party’s claim or defense.” See, e.g.,

Heffernan v. Jewish Mem’l Hosp. and Rehab. Ctr., Case No. 3:04cv1354, 2006 WL



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8448089 at *1 (D. Conn. 2006) (allowing further discovery reasonably focused on

counterclaim).

      The further discovery requested herein will not disturb the schedule in this

case or prolong its resolution. The scheduling order has been suspended, and

neither the trial date nor the remaining pretrial deadlines have been reset.

Defendants anticipate obtaining the further written discovery from Plaintiffs within

the coming weeks. Much of that duration could overlap with the period Plaintiffs

now have to respond to the FAACC, which extends to December 13, 2021,3 and/or

the time necessary for the Court to resolve the parties’ pending discovery motions.

Discovery is also expected to resume for at least another thirty (30) days once the

motions to compel have been decided, during which time Defendants could take

the requested depositions (provided they have time to review any further document

production from Plaintiffs). Thus, if allowed, the requested additional discovery will

not significantly delay or impede the resolution of this action and will promote the

efficiency of the discovery process.

      The requested additional discovery will not materially prejudice Plaintiffs.

Defendants have not reached their limit on the number of interrogatories served

under Rule 33(a)(1), and they have served fewer requests for production and

admission than Plaintiffs. See Decl. at ¶¶ 7-8. All depositions in this case have been

conducted virtually, as would the further depositions of Plaintiffs requested herein.

Defendants are only asking for an additional four (4) hours of examination under



3In the event Plaintiffs again move to dismiss all or part of the FAACC, then the
discovery requested herein could also be conducted while such motion is briefed
and adjudicated.
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Rule 30(b)(1), and seven (7) more hours of Rule 30(b)(6) examination, thereby

minimizing the time Plaintiffs’ witness and designee(s) would be pulled away from

other work.

IV. CONCLUSION

      For the foregoing reasons, good cause exists for permitting Defendants to

immediately serve further written discovery requests and for giving them leave to

take one additional Rule 30(b)(1) deposition, not to exceed four (4) hours, and one

more Rule 30(b)(6) deposition of Plaintiffs, not to exceed seven (7) total hours,

relating to Defendants’ Unfair Competition Counterclaim and/or documents that

Plaintiffs have produced since their prior deposition. The Court should grant the

Motion.



Dated: November 30, 2021                    Respectfully submitted,


                                            /s/ Michael J. Rye__________
                                            Michael J. Rye, Esq. (ct18354)
                                            mrye@cantorcolburn.com
                                            CANTOR COLBURN LLP
                                            20 Church Street, 22nd Floor
                                            Hartford, CT 06103
                                            Tel. (860) 286-2929
                                            Fax. (860) 286-0115

                                            Of Counsel:

                                            Heather Kliebenstein (pro hac vice)
                                            Merchant & Gould P.C.
                                            150 South Fifth St.
                                            Suite 2200
                                            Minneapolis, MN 55402
                                            Tel: 612-371-5213
                                            Fax: 612-332-9081
                                            hklibstein@merchantgould.com

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                                    Elisabeth Muirhead (pro hac vice)
                                    Merchant & Gould
                                    150 South Fifth Street
                                    Suite 2200
                                    Minneapolis, MN 55402-2215
                                    Tel: 612-371-5386
                                    emuirhead@merchantgould.com

                                    Ian G McFarland (pro hac vice)
                                    Merchant and Gould
                                    800 S. Gay Street
                                    Suite 2150
                                    Knoxville, TN 37929
                                    Tel: 865-380-5990
                                    imcfarland@merchantgould.com

                                    Attorneys for Defendants




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                             CERTIFICATE OF SERVICE

      I hereby certify that on November 30, 2021, a copy of the foregoing document

was filed electronically and served by mail on anyone unable to accept electronic

filing. Notice of this filing will be sent by e-mail to all parties by operation of the

Court’s electronic filing system or by mail to anyone unable to accept electronic

filing as indicated on the Notice of Electronic Filing. Parties may access this filing

through the Court’s CM/ECF System.


                                           /s/ Michael J. Rye____
                                           Michael J. Rye, Esq.




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